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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

WARNER BROS. ENTERTAINMENT INC.,
                       Plaintiff,
                                                    Case No. 25-cv-02136
       v.
THE PARTNERSHIPS and                                Judge Thomas M. Durkin
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A,”                         Magistrate Judge M. David Weisman

                       Defendants.

                     NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Warner Bros.

Entertainment Inc. hereby dismisses this action with prejudice as to the following Defendants:

                        Defendant Seller Alias Schedule A Line No.
                             GDCJJIAX                  11
                               Shinerr                 32
                             TACuteBuy                 36
                              ABMUG                    57
                            Allen’s Store              83
                              Andjwlry                101
                          CHOCKACAKE                  105
                          Luvmemo Studio              123
                               LYNG                   124
                            RTGFJHGHD                 125
                           Yihanshangmao              137
                              Zurwtch                 143




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Dated this 4th day of April 2025.     Respectfully submitted,

                                      /s/ Martin F. Trainor
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                                      Alexander Whang
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